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042575/19344/MHW/MEL

                         UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

MICHAEL DAVIS,

                      Plaintiff,
                                                    No. 17-cv-3654
v.
                                                    Judge Elaine E. Bucklo
STATEVILLE PRISON GUARD WESAM S.
ALI, ILLINOIS DEPARTMENT OF                         Magistrate Judge M. David Weisman
CORRECTIONS (IDOC), NURSE “MARY”,
and WEXFORD HEALTH SOURCES, INC,

                      Defendants.

                      DEFENDANT WEXFORD’S ANSWER AND
                AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

        Defendant, WEXFORD HEALTH SOURCES, INC. (“Wexford”), by and through its

attorneys, Matthew H. Weller and Miguel E. Larios of CASSIDAY SCHADE LLP, pursuant to

Fed. R. Civ. P. 8, and for its Answer and Affirmative Defenses to Plaintiff’s Complaint, pleads

as follows:

                                      INTRODUCTION

        As Plaintiff Michael Davis entered the dining room at Stateville Correctional Center on

September 2, 2014, Defendant Wesam Ali began to yell at Plaintiff without justification. Plaintiff

complied with Defendant Ali’s orders, yet Defendant Ali approached and yelled at Plaintiff. A

staff member handcuffed Plaintiff, and Defendant Ali took Plaintiff out of the dining room. Once

out of view of other prisoners and guards, Defendant Ali severely yanked Plaintiff’s handcuffed

wrists up towards Plaintiff’s head. Plaintiff heard and felt his left wrist snap. As a result of

Defendant Ali’s unjustified use of force, Plaintiff suffered and continues to suffer extreme pain

to his left wrist.
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ANSWER:         Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in this paragraph.

        Despite recommendations from medical personnel that Plaintiff needed surgery for his

left wrist, it took the Illinois Department of Corrections and Wexford over two years to provide

Plaintiff the medical care he needed for his left wrist. During the delay, medical staff, including

Nurse “Mary” were deliberately indifferent to his medical needs. Due to the delay in receiving

surgery, Plaintiff has ongoing pain and a permanent injury to his left wrist.

ANSWER:         Wexford denies the allegations contained in this paragraph.

                                  JURISDICTION AND VENUE

        1.      This is an action brought pursuant to 42 U.S.C. § 1983 to redress the deprivation

under color of law of Plaintiff’s rights as secured by the Eighth and Fourteenth Amendments to

the United States Constitution.

ANSWER:         Wexford admits that this civil action is purportedly brought pursuant to 42

U.S.C. § 1983 for alleged deprivations of rights under the Eighth and Fourteenth

Amendments to the United States Constitution, but denies that it is liable to Plaintiff for

any reason whatsoever.

        2.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1367. Venue is

proper in this district under 28 U.S.C. § 1391(b) because the events giving rise to the claims

asserted in this complaint occurred in this judicial district.

ANSWER:         Wexford admits that this Court has subject matter jurisdiction to hear this

cause. Wexford admits that venue is proper in the Northern District of Illinois.




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                                            PARTIES

       3.      On September 2, 2014, Plaintiff Michael Davis was incarcerated at Stateville

Correctional Center (“Stateville”) in Joliet, Illinois. Stateville is operated by the Illinois

Department of Corrections (“IDOC”). Plaintiff is a citizen of the State of Illinois.

ANSWER:        Wexford admits that Stateville Correctional Center (“Stateville”) is operated

by the Illinois Department of Corrections (“IDOC”), but lacks knowledge or information

sufficient to form a belief about the truth of the remaining allegations contained in

paragraph 3.

       4.      At all relevant times, Defendant Ali was a guard at Stateville. He is the guard who

intentionally and knowingly caused Plaintiff severe and ongoing medical injury. He is sued in his

individual capacity.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 4.

       5.      Defendant Wexford Health Sources (“Wexford”) is, and at all times relevant to

this lawsuit was, under contract to the State of Illinois and engaged in the business of providing

health care professionals and services to correctional facilities in Illinois, including Stateville.

Wexford failed to provide the proper medical care to the Plaintiff.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

phrase “at all times relevant to this lawsuit,” but admits that it provides medical health

services to certain IDOC facilities pursuant to a contract with the State of Illinois. Wexford

denies the remaining allegations contained in paragraph 5.




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        6.     Defendant Nurse “Mary” was at all relevant times working as a nurse at Stateville

Correctional Center and was employed by the Defendant, Wexford, and acting within the scope

of her employment and under color of law.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 6.

        7.     Defendant Illinois Department of Corrections (“IDOC”) is, and at all times

relevant to this lawsuit was, a government agency in charge of the administration of all of Illinois

state prisons, including Stateville.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

phrase “at all times relevant to this lawsuit,” but admits that the IDOC is a state agency in

charge of administering Illinois state prisons, including Stateville.

                                  FACTUAL ALLEGATIONS

        8.     On September 2, 2014, Plaintiff entered the “Chow Hall Circle” in Cell house F at

Stateville.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 8.

        9.     As he entered the Chow Hall, he spoke to two inmates, one of whom was on the

other side of the gate from where Plaintiff was standing.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 9




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        10.      Without justification or provocation, Defendant Ali told Plaintiff to “get the fuck

off the gate”.

ANSWER:          Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 10.

        11.      Despite the fact that Plaintiff complied with this unjust order, Defendant Ali

continued to shout at Plaintiff to get off the gate.

ANSWER:          Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 11.

        12.      Plaintiff continued to comply and attempted to continue into the Chow Hall to eat.

ANSWER:          Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 12.

        13.      Defendant Ali approached Plaintiff in an aggressive and confrontational manner.

ANSWER:          Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 13.

        14.      One of the inmates with whom Plaintiff had been speaking questioned Defendant

Ali regarding his actions towards Plaintiff.

ANSWER:          Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 14.

        15.      Defendant Ali became annoyed and stated “I do what the fuck I want to do”.

ANSWER:          Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 15.




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       16.     When other officers approached Plaintiff and Defendant Ali, Plaintiff put up his

hands and said he wasn’t doing anything.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 16.

       17.     Despite the fact that Plaintiff had complied with Defendant Ali’s unjust order,

Defendant Ali again approached Plaintiff and Plaintiff continued to keep his hands up in the air

to show that he was complying with the Defendant.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 17.

       18.     Cameras in the Chow Hall were turned towards the Plaintiff and recorded the

incident.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 18.

       19.     Correctional Lt. Daniel Artl approached Plaintiff and handcuffed him in an

unobjectionable manner.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 19.

       20.     When out of sight of the cameras, prisoners and other guards, Defendant Ali then

unnecessarily grabbed Plaintiff by the handcuffs and violently pulled the handcuffs up and away

from Plaintiff’s back, causing Plaintiff to suffer pain.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 20.




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       21.     Plaintiff said “I’m not doing shit”.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 21.

       22.     Defendant Ali then took Plaintiff through a door into a separate dining area and

forcefully pushed Plaintiff up against a door.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 22.

       23.     Defendant Ali then put his arms behind the Plaintiff, pulled Plaintiff’s handcuffs

and pushed Plaintiff against the wall.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 23.

       24.     When Defendant Ali did that, Plaintiff heard his left wrist made a loud popping

sound and experienced a lot of pain in the area of his left wrist.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 24.

       25.     Defendant Ali then roughly took Plaintiff into “the tunnel”.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 25.

       26.     Plaintiff told Defendant Ali that he had broken Plaintiff’s arm.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 26.




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        27.    Defendant Ali said “shut up or it will get worse”.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 27.

        28.    Defendant Ali then pushed Plaintiff into the tunnel wall and Plaintiff felt another

snap of his left arm area due to Defendant Ali’s actions.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 28.

        29.    Defendant Ali did not take Plaintiff to get medical treatment.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 29.

        30.    Another guard took Plaintiff to the infirmary at Stateville on September 2, 2014.

On September 2, 2014, a nurse referred Plaintiff to a doctor due to the swelling and pain that

Plaintiff was experiencing.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 30.

        31.    On September 2, 2014, Plaintiff was given inadequate treatment by medical staff

at Stateville, who applied a splint, told him to apply ice packs, and gave him medicine for his

pain.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 31.




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         32.   On September 3, 2014, staff at the infirmary saw Plaintiff and gave him Motrin

for his pain and noted he should have follow-up with the doctor next week and “potid” in two

weeks.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 32.

         33.   On September 5, 2013, a doctor from orthopedics at the University of Illinois at

Chicago (UIC) agreed to see Plaintiff on September 10, 2014.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 33.

         34.   On September 10, 2014, the doctor did not see Plaintiff due to a lockdown at

Stateville. Medical staff made a note regarding consultation with UIC regarding the injury.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 34.

         35.   On September 12, September 19 and September 23, 2014, medical staff did not

see Plaintiff despite the fact he had appointments, due to a lockdown at Stateville.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 35.

         36.   On October 6, 2014, a doctor saw Plaintiff and diagnosed Plaintiff with a wrist

dislocation and a torn ligament, gave Plaintiff Tylenol and recommended surgery.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 36.




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       37.     On November 5, 2014, a nurse at Stateville saw Plaintiff. The nurse noted that

Plaintiff stated that he was in pain and that Plaintiff was to go to UIC for medical treatment of the

left wrist. Plaintiff was given Motrin for thirty days. Medical Director Obais noted that Plaintiff

had a possible TFCC tear.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 37.

       38.     On November 11, 2014, the doctor approved medical treatment for a torn

ligament.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 38.

       39.     On November 17, 2014, medical staff at Stateville, who noted that UIC had

recommended surgery, saw Plaintiff.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 39.

       40.     On December 18, 2014, medical staff at Stateville noted that Plaintiff had “permit

hand treatment through 112/2015 L wrist support”.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 40.

       41.     On January 4, 2015, medical staff at Stateville noted that they did not see Plaintiff

due to a lockdown at Stateville.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 41.




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       42.     On January 9 and January 12, 2015, medical staff at Stateville saw Plaintiff.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 42.

       43.     In February 2015, Plaintiff returned from surgery at UIC and stated to medical

staff at Stateville that he sometimes has sharp pains in his left wrist. Results from the MRI were

pending.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 43.

       44.     On February 23, 2015, medical staff at Stateville, who had not yet received a

report from UIC, saw Plaintiff and scheduled a follow-up visit for four weeks.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 44.

       45.     On March 10, 2015, a doctor at Stateville noted that orthopedic doctor was

approved for a “wrist disorder”.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 45.

       46.     On March 24, 2015, medical staff at Stateville noted that the MRI results were not

available and the visit was rescheduled for two weeks.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 46.

       47.     On April 8, 2015, Plaintiff wasn’t seen due to time “constraints”.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 47.




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        48.     On April 15, 2015, Plaintiff wasn’t seen due to a lockdown.

ANSWER:         Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 48.

        49.     On April 29, 2015, a nurse noted that Plaintiff said “I’m all right I guess”. Surgery

was scheduled for June 24, 2015. However, an entry later that day noted that Plaintiff was not

seen due to a lockdown and the appointment was rescheduled for May 13, 2015.

ANSWER:         Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 49.

        50.     On May 4, 2015, medical staff at Stateville saw Plaintiff to schedule an

appointment.

ANSWER:         Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 50.

        51.     On May 11, 2015, medical staff at Stateville noted that Plaintiff had no change

regarding his left wrist.

ANSWER:         Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 51.

        52.     On May 13, 2015, medical staff did not see Plaintiff due to time constraints.

ANSWER:         Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 52.

        53.     On May 14, 2015, medical staff did not see Plaintiff.

ANSWER:         Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 53.




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       54.     On June 2, 2015, Plaintiff told medical staff that he had pain in his left wrist.

Medical staff at Stateville told Plaintiff he would have surgery at UIC in a few weeks.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 54.

       55.     On July 1, 2015, Plaintiff told medical staff that his wrist hurt a lot.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 55.

       56.     On July 21, 2015, Plaintiff had no change in his wrist, which still hurt a lot.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 56.

       57.     On August 10, 2015, medical staff saw Plaintiff, who asked when he would get

the surgery. Surgery was rescheduled.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 57.

       58.     On August 25, 2015, Plaintiff was returned to inmate housing.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 58.

       59.     On September 8, 2015, Plaintiff asked a nurse at Stateville when he would receive

surgery and told the nurse that the pain medication was not working.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 59.




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       60.     On September 17, 2015, Plaintiff was not seen due to “CQI” and his appointment

was rescheduled for September 24, 2015.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 60.

       61.     On September 24, 2015, the medical director did not see Plaintiff and instead

rescheduled his appointment for September 25, 2015.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 61.

       62.     On September 25 and September 29, 2015, Plaintiff was not seen due to the

absence of a provider.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 62.

       63.     On October 2, 2015, due to Plaintiff’s pain, a doctor was asked to see him but did

not due to “time constraints”.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 63.

       64.     On October 5, 2015, Plaintiff asked medical staff if the surgery was still pending

or if it had been actually scheduled.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 64.

       65.     On October 9, 2015, medical staff did not see Plaintiff due to a lockdown.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 65.




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       66.    On October 13, 2015, Plaintiff was seen for a scheduled MRI.

ANSWER:       Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 66.

       67.    On October 18, 2015, Plaintiff asked medical staff at Stateville what was

happening with his surgery. Plaintiff’s left wrist was in an ace bandage for pain and tenderness.

Surgery had not yet been scheduled.

ANSWER:       Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 67.

       68.    On October 27, 2015 a writ for the Plaintiff to get surgery at UIC was approved.

ANSWER:       Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 68.

       69.    On November 15, 2015, Plaintiff’s appointment was rescheduled since he was on

the yard.

ANSWER:       Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 69.

       70.    On November 16, 2015, Plaintiff asked medical staff when he would go for

surgery. Medical staff told him it would happen soon.

ANSWER:       Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 70.

       71.    On November 10, 2016, UIC admitted Plaintiff for surgery.

ANSWER:       Wexford admits the allegations contained in paragraph 71.




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        72.     Plaintiff received surgery on his left wrist that same day for arthroscopy open

TFCC repair.

ANSWER:         Wexford admits that on November 10, 2016, Plaintiff received surgery on his

left wrist for arthroscopy, open TFCC repair, ECU tendon sheath reconstruction and ulnar

nerve decompression at Guyon’s canal.

        73.     On December 9, 2016, Plaintiff was in extreme pain while in his cell in Stateville.

ANSWER:         Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 73.

        74.     Plaintiff asked the attending nurse, Nurse “Mary” for help due to the extreme

pain.

ANSWER:         Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 74.

        75.     In violation of her duty, Defendant “Mary” told Plaintiff that she couldn’t do

anything until the medical director returned and further suggested that Plaintiff remove the hard

cast and stitches to relieve the pain.

ANSWER:         Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 75.

        76.     Defendant “Mary” also told Plaintiff that the only medicine she could give him

was generic Tylenol.

ANSWER:         Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 76.




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        77.     Plaintiff relied Defendant Mary’s advice, removed the cast and stitches, and took

the Tylenol.

ANSWER:         Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 77.

        78.     Later, Defendant “Mary” returned to the cell with another nurse present and asked

Plaintiff why he took his cast off.

ANSWER:         Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 78.

        79.     Plaintiff replied that it was because she told him to.

ANSWER:         Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 79.

        80.     Defendant “Mary” said she was joking and refused to give him any medication

for the pain.

ANSWER:         Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 80.

        81.     The Wexford staff, including Defendant “Mary”, did not ensure that Plaintiff got

the proper and needed medical care for his injury.

ANSWER:         Wexford denies the allegations contained in paragraph 81.

        82.     The surgery did not repair the injury.

ANSWER:         Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 82.




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       83.     Plaintiff continued to suffer pain and needed additional surgery.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 83.

       84.     False disciplinary charges were brought against Plaintiff to cover up Defendant

Ali’s actions. Plaintiff’s grievance about the charge was denied.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 84.

       85.     Plaintiff was found guilty of the disciplinary charge and he received a three month

c grade, segregation and commissary restriction.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 85.

       86.     At all relevant times, the Defendants actions were willful and wanton.

ANSWER:        Wexford denies the allegations contained in paragraph 86.

                                  PLAINTIFF’S DAMAGES

       87.     Plaintiff has suffered serious injury as a direct and proximate result of the

misconduct of the Defendants alleged in the preceding paragraphs. Because Defendant Ali

unjustifiably and intentionally used excessive force against the Plaintiff, he has suffered and

continues to suffer ongoing injury, pain and suffering. Defendants failed to provide Plaintiff

proper and needed medical treatment, which led to the aggravation of his injury.

ANSWER:        Wexford denies the allegations contained in paragraph 87.

       88.     Even, after repeated requests over a number of years, rather than receiving proper

medical care and accommodations, Plaintiff was ignored and forced to live in pain and agony.

ANSWER:        Wexford denies the allegations contained in paragraph 88.




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         89.    As a result of the Defendants’ wrongful actions, Plaintiff has suffered and

continues to suffer physical pain and suffering.

ANSWER:         Wexford denies the allegations contained in paragraph 89.

         90.    Subsequent to these events, Plaintiff exhausted any and all administrative

remedies by IDOC, and then filed this lawsuit.

ANSWER:         Wexford lacks knowledge or information sufficient to form a belief about the

truth of the allegations contained in paragraph 90.

                                             COUNT I

    Defendant Ali Deliberately and Intentionally used Excessive Force against Plaintiff
             in Violation of the Eighth Amendment under 42 U.S.C. §1983

         Wexford makes no answer to the allegations of Count I because there are no allegations

asserted against it. To the extent the allegations of Count I can be construed as pertaining to it,

Wexford denies those allegations.

                                            COUNT II

                           Failure to Provide Adequate Medical Care
                 in Violation of the Eighth Amendment under 42 U.S.C. §1983

         97.    Plaintiff repeats and realleges the preceding paragraphs as if fully set forth in this

Count.

ANSWER:         Wexford re-alleges and restates their responses to paragraph 1 through 90,

as if fully set forth herein.

         98.    Defendants were and are aware that that Plaintiff suffered from a serious medical

injury as a result of Defendant Ali’s actions, aggravated by the Defendants failure to provide

adequate medical treatment.

ANSWER:         Wexford denies the allegations contained in paragraph 98.




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         99.    Defendants failed to ensure that he got prompt and adequate medical attention,

including surgery.

ANSWER:         Wexford denies the allegations contained in paragraph 99.

         100.   Defendant IDOC failed to ensure that Plaintiff got prompt and needed medical

treatment when Plaintiff was denied visits to health care due to lockdown, being on the yard or

time constraints.

ANSWER:         Wexford denies the allegations contained in paragraph 100.

         101.   Because the Defendants were not only aware of the Plaintiff’s medical needs, but

also the necessary treatment and medical accommodations that could relieve his suffering, yet

refused to administer them to the Plaintiff, the Defendants exhibited and continue to exhibit

deliberate indifference to the medical needs of the Plaintiff.

ANSWER:         Wexford denies the allegations contained in paragraph 101.

         102.   As a direct and proximate result of the Defendants’ failure to provide adequate

medical care to the Plaintiff, Plaintiff was and continues to be unlawfully subjected to an

unreasonable risk of serious harm and has suffered damages.

ANSWER:         Wexford denies the allegations contained in paragraph 102.

                                            COUNT III

                                  42 U.S.C. § 1983 Monell Claim

         103.   Plaintiff repeats and realleges the preceding paragraphs as if fully set forth in this

Count.

ANSWER:         Wexford re-alleges and restates their responses to paragraph 1 through 102,

as if fully set forth herein.




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       104.    In its capacity as a contractor to the IDOC, Wexford promulgated rules,

regulations, policies and procedures for medical screening, medical treatment, and overall

medical care for inmates at Stateville.

ANSWER:        Wexford admits the allegations contained in paragraph 104.

       105.    Wexford’s employees, including Defendant Nurse “Mary”, implemented its

policies, as the people responsible for the medical care of Plaintiff.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the identity of Defendant Nurse “Mary,” but denies the allegations contained in

paragraph 105.

       106.    In its capacity as a contractor to the State of Illinois, through the IDOC, Wexford

was at all relevant times acting under color of law.

ANSWER:        Wexford lacks knowledge or information sufficient to form a belief about the

truth of the phrase “at all relevant times,” and therefore denies paragraph 106.

       107.    Upon information or belief, Defendant Wexford has implemented a cost cutting

policy that resulted in its failure to ensure that its patients receive the medical care needed to

resolve their injuries such as occurred to the Plaintiff and those with similar medical needs.

ANSWER:        Wexford denies the allegations contained in paragraph 107.

       108.    Upon information or belief, Wexford has other polices and/or procedures in place

that resulted in its failure to ensure that Plaintiff and other prisoners with similar medical needs

received the needed and recommended medical care.

ANSWER:        Wexford denies the allegations contained in paragraph 108.




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       109.    In 2011 and for a period of time prior to that date, Wexford maintained a policy or

procedure under which prisoners with serious medical conditions, such as Plaintiff, were

routinely denied access to proper or sufficient medication and medical care.

ANSWER:        Wexford denies the allegations contained in paragraph 109.

       110.    Wexford’s policy and procedure were clearly demonstrated by the failure and

refusal of its employees to ensure that Plaintiff got prompt, proper and sufficient medical care for

his serious injury.

ANSWER:        Wexford denies the allegations contained in paragraph 110.

       111. Defendant Wexford was aware of the medical needs of patients with wrist injuries

and is aware that their policies or procedures result in the denial of medically prescribed

treatment to the plaintiff and those with similar medical needs.

ANSWER:        Wexford denies the allegations contained in paragraph 111.

       112. Pursuant to their polices and procedures, Defendant Wexford, continued to refuse,

deny or fail to ensure that Plaintiff received the medically prescribed treatment needed by the

Plaintiff, which resulted in deliberate indifference to the Plaintiff’s serious medical needs in

violation of the Eighth Amendment of the U.S. Constitution.

ANSWER:        Wexford denies the allegations contained in paragraph 112.

       113. As a direct and proximate result of Defendant Wexford’s polices and procedures that

prevented Plaintiff from receiving needed surgery, Plaintiff was and continues to be unlawfully

subjected to an unreasonable risk of serious harm and has suffered damages.

ANSWER:        Wexford denies the allegations contained in paragraph 113.




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                                           COUNT IV

     Indemnification Pursuant to 745 ILCS 10/9-102 against the Illinois Department of
                                       Corrections

        Wexford makes no answer to the allegations of Count IV because there are no allegations

asserted against it. To the extent the allegations of Count IV can be construed as pertaining to it,

Wexford denies those allegations.



        WHEREFORE, Defendant, WEXFORD HEALTH SOURCES, INC., denies that

Plaintiff is entitled to any relief whatsoever, and prays for judgment in its favor and against

Plaintiff, with costs.




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                                   AFFIRMATIVE DEFENSES

        Defendant, WEXFORD HEALTH SOURCES, INC., by and through its attorneys,

Matthew H. Weller and Miguel E. Larios of CASSIDAY SCHADE LLP, pursuant to Fed. R.

Civ. P. 8, and for their Affirmative Defenses to Plaintiff’s Complaint, hereby plead as follows:



                           FIRST AFFIRMATIVE DEFENSE
                  FAILURE TO EXHAUST ADMINISTRATIVE REMEDIES

       1.        Federal law mandates that “[n]o action shall be brought with respect to prison

conditions under section 1983 of this title, or any other Federal Law, by a prisoner confined in

any jail, prison, or other correctional facility until such administrative remedies as are available

are exhausted.” 42 U.S.C. § 1997(e)(a); Pavey, 544 F.3d at 740.

       2.        The administrative remedies applicable to the Plaintiff in the instant action can be

found at 20 ILL. ADMIN. CODE § 504.800 - 870. Effectively, this Plaintiff was required to

complete three administrative steps in order to exhaust his remedies:

              (1) attempt to resolve his complaint informally through his/her
              Counselor;

              (2) file a written grievance to the Grievance Officer within 60 days
              of discovery of his complaint; and

              (3) file an appeal to the Director within 30 days after the date of the
              decision with respect to his written grievance. See 20 ILL. ADMIN.
              CODE § 504.810, § 504.850.

       3.        To the extent Plaintiff has failed to exhaust his administrative remedies prior to

the filing of this suit, his claims are barred by 42 U.S.C. § 1997(e)(a) and 20 ILL. ADMIN. CODE §

504.800 - 870.




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                  SECOND AFFIRMATIVE DEFENSE
  FAILURE TO EXERCISE REASONABLE CARE AND TO MITIGATE DAMAGES

       1.      The sole proximate cause of the injuries and damages alleged by the Plaintiff was

the Plaintiff’s failure to exercise reasonable care for his own well-being.

       2.      Plaintiff has failed to mitigate damages as required by law.



                         THIRD AFFIRMATIVE DEFENSE
                   DEFENDANTS ACTED IN GOOD FAITH/IMMUNITY

       1.      At all times relevant herein, Defendant(s) acted in good faith in the performance

of their official duties and without violating Plaintiff’s statutory or constitutional rights of which

a reasonable person would have known. Therefore, the doctrine of qualified immunity protects

these Defendant(s) from this lawsuit. “Qualified immunity shields [officials] from civil damages

liability so long as their actions could reasonably have been thought consistent with the rights

they are alleged to have violated.” Leaf v. Shelnutt, 400 F.3d 1070, 1079-80 (7th Cir. 2005)

(citing Anderson v. Creighton, 483 U.S. 635, 638-39 (1987)).

       2.      The protection of qualified immunity applies regardless of whether the

government official’s error is a mistake of law, mistake of fact, or a mistake based on mixed

questions of law and fact. Pearson v. Callahan, 555 U.S. 223, 231 (2009).

       3.      The United States Supreme Court regards as beneficial, the two-step sequence for

resolving government officials’ immunity claims articulated in Saucier v. Katz, 533 U.S. 194

(2001); see also Pearson, 555 U.S. at 236 (“Although we now hold that the Saucier protocol

should not be regarded as mandatory in all cases, we continue to recognize that it is often

beneficial…”). First, a court must decide whether the facts, as alleged by the plaintiff, make out a

violation of a constitutional right. Id. at 232. Second, the court must decide whether the right at




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issue was “clearly established” at the time of the defendant’s alleged misconduct. Id. In order to

show that the right was clearly established, the plaintiff must show that the defendant’s

“violation [of the constitutional right] was so clear that an official would realize he or she was

violating an inmate’s constitutional rights.” Borello v. Allison, 446 F.3d 742, 750 (7th Cir. 2006).

       4.      Plaintiff's Complaint alleges that Defendant(s) provided medical care and

treatment to the Plaintiff while he was incarcerated at a state-run prison. At no time did any

defendant render medical care that was so clearly a violation of the Plaintiff's constitutional

rights that the defendant would realize he or she was providing medical care tantamount to cruel

and unusual punishment. Thus, the doctrine of qualified immunity applies and shields these

Defendant(s) from this litigation.

       5.      Defendant(s) further recognize that the Seventh Circuit has suggested, in dicta,

that qualified immunity is not available to private medical personnel in state-run prisons. See

Petties v. Carter, 836 F.3d 722, 733-34 (7th Cir. 2016) (en banc). However, the United States

Supreme Court’s decision in Filarsky v. Delia, 566 U.S. 377, 390 (2012) controls and establishes

that immunity is available to a government’s private contractors who are performing jobs that,

otherwise, would be performed by state agents, who unquestionably could assert qualified

immunity.

       6.      In Filarsky, the Supreme Court, unanimously, held that a private attorney hired by

a municipality to perform a task was entitled to claim qualified immunity. 566 U.S. at 390

(“Affording immunity not only to public employees but also to others acting on behalf of the

government similarly serves to ensure that talented candidates are not deterred by the threat of

damages suits from entering public service”) (internal marks omitted).




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       7.      Other Circuits follow Filarsky and apply qualified immunity to private medical

providers working in state-run prisons. In a decision handed down after Petties, the Tenth Circuit

Court of Appeals found that Filarsky controlled and applied qualified immunity to a private

doctor working in a state prison. Estate of Lockett v. Fallin, 841 F.3d 1098, 1108-09 (10th Cir.

2016) (“Dr. Doe stands in the same position as the attorney in Filarsky – he was a private party

hired to do a job for which a permanent government employee would have received qualified

immunity. Thus, we conclude that qualified immunity applies to Dr. Doe.”).

       8.      The Supreme Court’s decision in Filarsky combined with the case law of other

Courts of Appeal establish that qualified immunity applies to private medical providers

performing medical services in a state-run prison. Therefore, Defendant(s) have a non-frivolous

argument for extending, modifying, or reversing existing law in this Circuit.



                  FOURTH AFFIRMATIVE DEFENSE
CLAIMS BARRED BY STATUTE OF LIMITATIONS AND/OR STATUTE OF REPOSE

       1.      Claims for deliberate indifference made pursuant to 42 U.S.C. § 1983 are

considered personal injury claims and are governed by the personal injury statute of limitations

and tolling laws in the state where the alleged injury occurred. Delgado-Brunet v. Clark. 93 F.3d

339, 342 (7th Cir. 1996).

       2.      Illinois has a two-year statute of limitations for personal injury actions. 735 ILCS

5/13–202 (2008); Anton v. Lehpamer, 787 F.2d 1141, 1142 (7th Cir. 1986). Illinois has a four-

year statute of repose for personal injury actions. 735 ILCS 5/13-212(a); see also Phillips v.

Cook County, 07 C 2394, 2008 U.S. Dist. LEXIS 50600 (N.D. Ill. July 1, 2008) (Gottschall, J.).

       3.      Plaintiff’s claims in this matter are based on personal injuries he allegedly

suffered as an inmate in the custody of the Illinois Department of Corrections. As such, the



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Plaintiff’s claims are subject to a two-year statute of limitations and/or a four-year statute of

repose.

          4.    Although state law determines the length of the statute of limitations, federal law

determines when that statute of limitations begins to accrue. Wilson v. Giesen, 956 F.2d 738, 740

(7th Cir. 1991). Federal law dictates that accrual begins when a “plaintiff knows or should know

that his or her constitutional rights have been violated.” Id.

          5.    To the extent Plaintiff complains of injuries or events that occurred more than two

years prior to the filing of this suit, his claims are barred by 735 ILCS 5/13-202. To the extent

Plaintiff complains of injuries or events that occurred more than four years prior to the filing of

this suit, his claims are barred by 735 ILCS 5/13-212.



          WHEREFORE, Defendant, WEXFORD HEALTH SOURCES, INC., denies that

Plaintiff is entitled to any relief whatsoever, either in law or in equity, and prays for judgment in

its favor and against Plaintiff, with costs.




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                                      JURY DEMAND

      Defendant demands a trial by jury on all issues herein triable.



Dated: October 27, 2017                     Respectfully submitted,

                                            CASSIDAY SCHADE LLP

                                            By: /s/ Miguel E. Larios
                                                One of the Attorneys for Defendant,
                                                WEXFORD HEALTH SOURCES, INC.,


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 27, 2017, I electronically filed the foregoing document

with the clerk of the court for Northern District of Illinois, using the electronic case filing system

of the court. The electronic case filing system sent a “Notice of E-Filing” to the attorneys of

record in this case.


                                                                                 /s/ Miguel E. Larios




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